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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE

U.S. Bank National Association, as          CIVIL ACTION NO: 2:19-cv-00365-LEW
Indenture Trustee on behalf of and with
respect to Ajax Mortgage Loan Trust 2015-B,
Mortgage-Backed Notes, Series 2015-B

               Plaintiff                           AFFIDAVIT OF RENEAU J. LONGORIA
                                                   AS TO SERVICE OF DEFENDANT,
                                                   JULIE POLAND A/K/A JULIE R.
                                                   POLAND

                       vs.                         RE:
                                                   12 Karen Drive, Gray, ME 04039

Julie Poland a/k/a Julie R. Poland; and            Mortgage:
The Bank of New York as Trustee for the            06/24/2009
Certificateholders CWALT, Inc. Alternative         Book 27027, Page 329
Loan Trust 2006-20CB Mortgage Pass-
Through Certificates, Series 2006-20CB

                Defendants

I, Reneau J. Longoria, hereby depose and say as follows:

   1. I am a Member of Doonan, Graves & Longoria, LLC, the law firm who represents Plaintiff,

       U.S. Bank National Association, as Indenture Trustee on behalf of and with respect to Ajax

       Mortgage Loan Trust 2015-B, Mortgage-Backed Notes, Series 2015-B.

   2. Plaintiff ’s Complaint was filed on August 12, 2019.

   3. The Defendant, Julie R. Poland, was served with the subject complaint on August 22, 2019.

   4. Proof of Service for Defendant, Julie Poland a/k/a Julie R. Poland was filed on October 4,

       2019.

   5. Plaintiff filed its Amended Complaint on June 7, 2021. [ECF #20]

   6. Plaintiff sent copies of the filed Amended Complaint to all parties of this action via regular

       and certified mail on June 7, 2021.

   7. The Defendant, Julie Poland a/k/a Julie Poland, was served with a copy of the filed
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       Amended Complaint, via certified mail on June 14, 2021. See Exhibit A (true and correct

       copies of the executed USPS Certified Mail Return Receipts for Defendant, Julie Poland

       a/k/a Julie R. Poland are attached hereto and incorporated herein).

   8. Plaintiff states service of Defendant, Julie Poland a/k/a Julie R. Poland, is now complete, as

       a copy of the filed Complaint has been sent by certified mail to the addresses listed above,

       and Plaintiff has received an executed USPS Certified Mail Return Receipt indicating said

       Amended Complaint was delivered and received by the Defendant, Julie Poland a/k/a Julie

       R. Poland.

I declare under the penalty of perjury that the foregoing is true and accurate.

Executed on this 23rd day of August, 2021


                                                       /s/Reneau J. Longoria, Esq.
                                                       Reneau J. Longoria, Esq., Bar No. 5746
                                                       Attorneys for Plaintiff
                                                       Doonan, Graves & Longoria, LLC
                                                       100 Cummings Center, Suite 303C
                                                       Beverly, MA 01915
                                                       (978) 921-2670
                                                       RJL@dgandl.com

                         COMMONWEALTH OF MASSACHUSETTS

ESSEX, ss.

        On this 23rd day of August, 2021, before me, the undersigned notary public, personally
appeared Reneau J. Longoria, Esq. who proved to me through satisfactory evidence of identification
to be the person whose name is signed on this document, who swore or affirmed to me that the
contents of the document are truthful and accurate to the best of his knowledge and belief.


                                                       /s/Sigrit Rodriguez
                                                       Notary Public
                                                       Commission Expires: October 30, 2028
